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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00094 LJO-SKO
12                                 Plaintiff,            STIPULATION TO CONTINUE TRIAL AND
                                                         TRIAL CONFIRMATION AND PROPOSED
13                          v.                           ORDER THEREON
14   OTONEL CARDENAS-TORRES, ET. AL.
                                                         Date: December 3, 2019
15                                 Defendants.           Time: 8:30 a.m.
                                                         Honorable Lawrence J. O’Neill
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18          The United States of America, by and through MCGREGOR W. SCOTT, United States

19 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

20 and through their respective attorneys of record, hereby request and stipulate to continue the trial in this

21 case from December 3, 2019 until April 21, 2020 at 8:30 am.

22          The parties request that time be excluded for the following reasons:

23                  (1) counsel for defendant Otonel Torres-Cardenas requires additional time to prepare for

24          trial, having difficulties in reviewing videos provided in discovery; and court conflicts due to his

25          obligations to other clients;

26                  (2) Counsel for Palacios is currently engaged in a gang related attempted murder case.

27          Counsel has been in trial for the past three weeks. His trial is expected to go to jury no later than

28          Friday, November 1st. Counsel for Palacios also has two other cases set for trial assignment on

      STIPULATION TO CONTINUE TRIAL DATE AND TRIAL
      CONFIRMATION
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 1          Monday, November 4, 2019. I am informed Palacios’ attorney is trailing a second degree
 2          murder trial (People vs. Michaela Bowers, BF167356A) with a three week estimate. Counsel for
 3          Palacios was informed the Deputy DA assigned to the homicide was assigned a trial court on a
 4          different matter with a two week estimate. It is my understanding that Palacios’ counsel will be
 5          sent out on a sodomy case, People vs. Devon Harris, BF 175085A, with a 7 day court estimate,
 6          then commence the Bowers matter late November. Hence, counsel for Palacios is unavailable
 7          for a December 3rd trial date on the above-captioned matter; and
 8                  (3) counsel for the government has trials scheduled later on December 17, 2019; March 3,
 9          2020, and a six-defendant trial on March 17, 2010 (believed to take two to three weeks).
10          The proposed trial date represents the earliest date that all counsel are available thereafter, taking
11 into account counsels’ schedules, defense counsels’ commitments to other clients, and the need for

12 preparation in the case and further investigation. The parties further believe that time should be

13 excluded, in that failure to grant the requested case schedule would unreasonably deny the defendants

14 continuity of counsel, and unreasonably deny both the defendants and the government the reasonable

15 time necessary for effective preparation, taking into account the parties’ due diligence in prosecuting

16 this case. 18 U.S.C. Section 3161(h)(7)(B)(iv). Based on the above-stated findings, the ends of justice

17 served by the schedule as requested outweigh the interest of the public and the defendant in a trial within

18 the original date prescribed by the Speedy Trial Act. Therefore, the parties request that the Court

19 exclude the time until the new trial date from calculations under the Speedy Trial Act.

20 Dated: October 28, 2019                                    MCGREGOR W. SCOTT
                                                              United States Attorney
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22                                                            /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
23                                                            Assistant United States Attorney

24
     Dated: October 28, 2019                               /s/ Alonzo Gradford
25                                                         Attorney for Otonel Torres-Cardenas
26 Dated: October 28, 2019                                 /s/ David A. Torres
                                                           Attorney for Defendant Roberto Palacios-Garcia
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      STIPULATION TO CONTINUE TRIAL DATE AND TRIAL
      CONFIRMATION
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 1                                                     ORDER
 2          IT IS HEREBY ORDERED that the trial in this case be continued from December 3, 2019 until
 3 April 21, 2010 at 8:30 a.m.

 4          IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as
 5 requested outweigh the interest of the public and the defendants in a trial within the original date

 6 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of

 7 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

 8 commence, the time period of December 3, 2019 until April 21, 2020, inclusive, is deemed excludable

 9 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court

10 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

11 action outweigh the best interest of the public and the defendant in a speedy trial.

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     IT IS SO ORDERED.
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14      Dated:     November 16, 2019                          /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION TO CONTINUE TRIAL DATE AND TRIAL
      CONFIRMATION
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